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EXHIBIT C

DCSA Boyers PA DCSA Mailbox INV-FOIP mil.com >
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Thank you for contacting the DCSA Freedom of information and Privacy (FOI/P) Office for Investigations.

If you submitted an encrypted, locked, or password protected e-mail, we ask that you contact our office within a week of submitting your request as we may not
be able to open your request; and if we cannot open your request, then we cannot process it. Please allow up to 6 business days for your request to be received,
Additionally, please do not send multiple of duplicate requests as it delays processing time.

Regarding your request, if we need additional details, a FOI/P employee will contact you. Otherwise, we process perfected requests ona first in / first out basis.

Additionally, should your contact information or delivery preference change prior to receiving your requested information, please contact our office so we can
update your request file.

For all request related questions, or time sensitive inquiries, the FOI/P Office for investigations can be reached by calling (878) 274-1185, during the hours of
9:00AM - 12:00PM (noon) and 1:00PM ~ 4:00PM EST, Monday ~ Friday (excluding Federal holidays).

You shauld be prepared to provide identifying information to assist FOI/P personnel in locating specific data about your request

Lastly, if you have questions about DCSA missions or haw to gain access to DCSA records, please visit our website: https://www.dcsa.mil/contact/foia/foip/.
